
ON REHEARING
SAVOIE, Judge.
hWe granted a rehearing in this matter for the limited purpose of considering the rehearing motion filed by the State of Louisiana (state) seeking the removal of the sentence in the dispositional paragraph which reads: “In light of the defendant’s drug problems, this case is remanded to the trial court with instructions to conduct a hearing on whether the defendant is a candidate for placement in a rehabilitation facility such as The Blue Walter Substance Abuse Treatment Program.” Upon further review of this matter, we find that the state is entitled to this relief.
As pointed out by the state, the defendant did not seek this relief on appeal. The scope of appellate review of a sentence is found in La.Code Crim.P. art. 881.2(A)(1) which provides, in pertinent part, that “[t]he defendant may appeal or seek review of a sentence based on any ground asserted in a motion to reconsider sentence.” As a result, we amend the dispositional language of our opinion to read as follows.

DECREE

Defendant’s sentences are affirmed.
REHEARING GRANTED; AFFIRMED.
